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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,

                   Plaintiff,



                       vs.                              Case No. 08-10106-JTM


 AGUSTIN HERNANDEZ, a/k/a “Guti,”
 UBALDO HERNANDEZ, a/k/a “Baldo,”
 JOSE JUAN HERNANDEZ,
 ISIDRO HERNANDEZ,
   a/k/a “Chilo” or “Little Chilo,”
 ADRIAN GUZMAN, /k/a “Pato,”
 MICHAEL PLESS, a/k/a “Little Mike,”
 TEODORO ADAME, a/k/a “Lolo,”
 JOSE SAN MIGUEL,
 GUADALUPE ANDRADE, a/k/a “Lupe,”
 RONALD COOK,
 FABIAN NUNEZ-DIAZ
 MIGUEL LOZANO-ESPARZA,
 RAYMUNDO IBARRA, a/k/a “Mundo,”
 ROBERT D. SAIZ, a/k/a “R.D.,”
 VINCENTE RODRIGUEZ, a/k/a “Chente,”
 ROGELIO GUZMAN, a/k/a “Gallo,”
 DEANDRE GILKEY, a/k/a “Dre,”
 TIM OTHY DUKES,
 JOSEPH SMITH, a/k/a “Uncle Joe,”
 MOSES J. VILLA,
 PASCAUL VILLA,
 JACOB GALAVIZ,
 PETER LAMBERT,
 RYAN LAMBERT,
 JOHNE RAMIREZ ,

                       Defendants.




                                MEMORANDUM AND ORDER


       On this the 11th day of September, 2008, the court heard the parties in the above entitled

action address the court as to the status of the case. Based upon a consideration of the current
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circumstances in the case, the court concludes that the following schedule will afford all parties

adequate time for preparation. These circumstances include the substantial time for trial preparation

afforded by the currently scheduled trial date.


       Deadline for all Pre-Trial Motions . . . . . . . . . . . . . . . . . December 1, 2008
       Responses to Motions Due . . . . . . . . . . . . . . . . . . . . . . . December 19, 2008
       Motions Hearing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . January 16, 2009
       Jury Trial . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . October 6, 2009

       In addition, any motions to enter a change of plea shall be entered no later than 21 days after

the Court’s order resolving the motions heard on January 16, 2009. The scheduling order previously

entered by the court is hereby modified accordingly. Any future status conferences in the present

matter will be set by subsequent order of this court. The court will modify this schedule only on a

show of good cause and due diligence.

       Additionally, the court may modify or add to the foregoing schedule if it becomes necessary.

The Government is directed to make timely disclosure of discovery of materials covered by Rule 16,

Rule 12(b)(4)(A), and Brady/Giglio so as to afford the defendants an opportunity to timely file any

pre-trial motions concerning such matters.

       The court is also modifying its earlier order prohibiting counsel from copying discovery or

providing copies of discovery to their clients. Counsel are now authorized allowed to make copies

of transcripts of telephone conversations and to leave copies of those transcripts with their clients.

However, all other discovery remains subject to the court’s earlier order prohibiting copying.

Counsel are encouraged to seek means to make that discovery available to their clients while

protecting the safety of other persons, and the court is willing to entertain a motion to further modify

the order upon filing.
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IT IS SO ORDERED this 11th day of September, 2008.




                                        s/ J. Thomas Marten
                                        J. THOMAS MARTEN, JUDGE
